

People v Sadagheh (2023 NY Slip Op 01595)





People v Sadagheh


2023 NY Slip Op 01595


Decided on March 23, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 23, 2023

Before: Renwick, A.P.J., Friedman, Scarpulla, Mendez, Rodriguez, JJ. 


Ind. No. 793/08 Appeal No. 17565 Case No. 2021-00581 

[*1]The People of the State of New York, Respondent,
vTorkieh Sadagheh, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Jan Hoth of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Nathan Shi of counsel), for respondent.



Order, Supreme Court, New York County (Thomas Farber, J.), entered on December 9, 2020, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion when it declined to grant a downward departure (see generally People v Gillotti, 23 NY3d 841, 861 [2014]). Defendant's completion of educational programming and vocational training, and his anticipated postrelease familial support and employment, were adequately taken into account by the risk assessment instrument (see e.g. People v Morales, 197 AD3d 1051 [1st Dept 2021]). Defendant also did not establish that his social support system and age decreased his particular likelihood of reoffense (see People v Rodriguez, 145 AD3d 489, 490 [1st Dept 2016], lv denied 28 NY3d 916 [2017]). In any event, these mitigating factors were outweighed by the seriousness of the underlying crimes, which involved defendant posing as a cab driver and sexually assaulting women in his car.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 23, 2023








